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                  UNITED STATES DISTRICT COURT
                     DISTRICT OF CONNECTICUT


                                       )
145 SISSON AVENUE, LLC                 )
                                       )
                PLAINTIFF              )     CIVIL ACTION NO.:
                                       )
V.                                     )     3:23-CV-00903-MPS
                                       )
ARON PURETZ                            )
                                       )
                DEFENDANT              )
                                       )     SEPTEMBER 1, 2023


                        MOTION FOR DEFAULT

     Pursuant to Federal Rule of Civil Procedure 55(a),

Plaintiff 145 Sisson Avenue, LLC moves for the clerk to

enter a default against Defendant Aron Puretz for the

following reasons:

     1.    This court issued a summons on July 11, 2023 which

required a response to the complaint to be filed within 21

days after service.

     2.    On August 11, 2023, Plaintiff filed a return of

service indicating Defendant was served on August 10, 2023

(#12).

     3.    According to the printout from the United States

Post Office web site, the certified mail addressed to Aron

Puretz (#13) was delivered on Saturday, August 12, 2023 at

1:16 pm.
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           4.         Defendant was required to respond by Thursday,

August 31, 2023, which he has not done.

           5.         A default should issue.




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                                           Federal Bar #CT05955


                                           CERTIFICATE OF SERVICE

     I hereby certify that a copy of the foregoing was
mailed on this 1 st day of September, 2023 to:

Aron Puretz
43 Fenway Circle
Staten Island, New




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